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                               Affidavit of Amanda Johnston

In accordance with 28 U.S.C. § 1746,1, Amanda Johnston, declare under the penalty of
perjury of the laws of the United States of America, and state upon personal knowledge
                                           that:


        An employee referred to by the name AJ Andrzejewski has told my direct
supervisor that he believed I was an implanted spy from “Joey Gilbert” and that I was
not to be trusted. Early on in their saga my supervisor Jess Abu was asked to remove
me from chats and remove my access to files and shared folders. These items I need
 access to in order to function and perform my job for AFLDS.
         Additionally, my AFLDS email access has been compromised. As of now I am
 unable to have any communication with any emails addresses that are not on the
 AFLDS internal server. As a citizen Corp supervisor I primarily communicate with our
  state volunteers who don’t have AFLDS emails, thus again rendering me helpless and
        We Aimlost access to an entire document from the internal shared folder with all
  of our state leaders info on it. To our knowledge there are only 4-5 people who would
  have had access to this document. Clearly whoever deleted it didn’t have the best
   intentions for our organization. Someone was trying to remove the rest of our teams
   ability to find communication outlets for our state leaders. This document is where we
   store all state leader phone numbers, addresses, telegram handles etc. To summarize,
   the removal of this document means someone didn’t want the rear of our team to be
  able to communicate with our state volunteers.
           Overall, the last week has been complete insanity with a back and forth ot
  employees within the organization calling meetings and private chats. The whole
  organization is suffering right now as a result from multiple measures taken to try to
 “shut down” different aspects of the company. This not only makes for a horrible and
 toxic environment for the employees, but we are doing a major injustice to our donors
 and the American people.




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